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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER VACATING JUDGMENT
                                                    AND REOPENING CASE
   Ramey et al. v. Monsanto Co., Case No.
   17-cv-05878-VC                                   Re: Dkt. No. 18284




        Monsanto has not filed any objections to the Court's June 18 order. See Ramey et al. v.

Monsanto Co., Case No. 17-cv-05878-VC, Dkt. No. 20. For the reasons stated in that order, the

judgment in this case and the order of dismissal are vacated. The Clerk is directed to reopen this

case.

        Plaintiffs' lead counsel are directed to contact the Rameys, provide them with a copy of

this order and the June 18 order, and offer assistance in locating new counsel. The Rameys'

contact information can be found in their March 24 letter. See id., Dkt. No. 19. Lead counsel

should file a status update about this case by August 1, 2024.



        IT IS SO ORDERED.

Dated: June 26, 2024
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
